              Case 2:21-cr-00320-MMB Document 21 Filed 05/11/22 Page 1 of 1



                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

                    V




ROBERT FRYER                                                  NO.: 21-320


                                         ORDER TO SURRENDER

        AND NOW, this 11th day of May, 2022, the above-named defendant having been
sentenced to the custody of the Bureau of Prisons,
        IT IS ORDERED that the execution of prison sentence is suspended until
Sfpt.        l .5       . 2022   at which time defendant is directed to report to report to the
institution designated by the Bureau of Prisons no later than 2:00 p.m. to commence service
said sentence.


                                                       s/ Michael M. Baylson
                                                                                         I   J,
ACKNOWLEDGEMENT




Cr28(5/21)
